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                                          THE CITY OF NEW YORK
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                                                                        August 14, 2018

       BY ECF
       Honorable Cheryl L. Pollak
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                      Re:   Martinez v. City of New York, et al., No. 1:16-cv-00079-AMD-CLP

       Your Honor:

               I am a Senior Counsel in the office of Zachary W. Carter, Corporation Counsel of the
       City of New York, representing defendants in the above-referenced matter. The parties write
       jointly to inform the Court that they have reached agreement concerning defendants’
       contemplated motion to dismiss and remaining depositions.

               A.     Motion to Dismiss

              Plaintiff has agreed to voluntarily withdraw her § 1983 Conspiracy claim and her Monell
       claim and to voluntarily dismiss all claims against defendants Bryan Post, Tiffany Wolf, James
       Seddio, Daniel Mendez, and Richard Russo.

              Defendants have agreed to forego moving to dismiss at this time but reserve the right to
       later move to dismiss pursuant to Fed. R. Civ. P. 12(c) and/or to move for summary judgment
       following the close of all remaining discovery. Defendants will separately write to District
       Judge Donnelly advising her that they will be not be moving to dismiss at this time.

               B.     Depositions

              Defendants have agreed not to oppose the depositions of defendants Ryan, Camhi,
       Rippel, and Davneiro. Defendants also do not oppose the deposition of non-party Danny Rivera.
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          The parties have agreed that plaintiff will take the depositions of defendants Valerga,
  Pontecorvo, Kandinov, Ficken, Trotter, Lavelle and Wolff and consider, following the
  depositions, whether it is appropriate for them to remain defendants in the case. The parties have
  further agreed that these seven depositions will be limited in time but have not yet agreed on the
  respective time limits. Plaintiff has agreed not to seek any disciplinary discovery concerning
  these defendants prior to their depositions, and will only seek such discovery for those
  defendants whom plaintiff does not voluntarily dismiss following their deposition. In the event a
  disciplinary production is made subsequent to the depositions, the parties have agreed that
  plaintiff will be permitted limited further questioning of the witness(es) regarding those materials
  upon her request.

          Defendants have also agreed not to oppose the re-opening of the depositions of
  defendants Forgione, Weitzman, DiGennaro, and Laliberte, and of non-party Eric Robinson.
  The parties have agreed that the re-opened depositions of Forgione and Weitzman will be limited
  in time but have not yet agreed on the respective time limits.

          Plaintiff has agreed not to seek to depose or re-depose any other individuals from her
  original list, see Docket No. 149-1, at this time.

         Plaintiff has also agreed not to oppose the re-opening of plaintiff’s deposition, which
  defendants agree shall be limited to questioning concerning plaintiff’s newly asserted claims,
  concerning any ongoing medical treatment, and concerning medical records received regarding
  any ongoing medical treatment and regarding relevant prior medical treatment that has not been
  previously explored.1

          The parties respectfully request that the Court schedule a conference in order to discuss,
  inter alia, a schedule to complete remaining discovery.

         Thank you for your consideration.

                                                                Respectfully,

                                                                /s/ Kavin Thadani_____________

                                                                Kavin Thadani
                                                                Senior Counsel
                                                                Special Federal Litigation Division




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      Plaintiff has agreed to inform defendants of any ongoing treatment and to produce to
  defendants medical releases authorizing the disclosure, to the extent they exist, of any additional
  records from the ten years prior to the incident concerning plaintiff’s prior treatment for her right
  foot, an abscess in her hand, and pinky pain.



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  cc:   BY ECF
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